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                 Exhibit 56
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                       EXECUTIVE DEPARTMENT


EXECUTIVE DEPARTMENT GENERAL OFFICE                        FUNCTION                 1501

APPROPRIATIONS                                                             $     1,071,916
FRINGES                                                                    $       446,879
TOTAL APPROPRIATIONS                                                       $     1,518,795
REVENUE                                                                    $       100,000
NET                                                                        $    (1,418,795)




                                                                                              HELFER

                                                                                               16
                                                                                              06-22-2022
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                                        MAYOR AND EXECUTIVE DEPARTMENT
                                                Executive Division
                                                Division# 03-1501

                                                           Goals

1. To further expand economic development, improv~ the quality of life and achieve greater accountability and efficiency in
   city government.
2. To represent the City of Buffalo and its residents locally through regulatory bodies, other units of government and civic
   groups, and beyond the City's borders through lobbying efforts in the state and federal capitals, as well as participating in
   national and regional forums, seminars and symposia on issues affecting cities across the country.
3. To develop, implement and manage the functions of all city departments under the Executive Department of which the
   Mayor serves as department head.

                                                             Activities

1. Appoint the heads of the City departments and directors of the divisions as well as the members of boards and
   commissions.
2. Formulates the city's annual budget and holds veto power over Council actions.
3. Maintains peace, enforces the law and insures that all other offices, boards, departments, commissions and agencies
   faithfully perform their duties.
4. Exercises authority to examine all books and accounts of the city. In addition, the Mayor has the same powers of
   investigation as are conferred on the Council. He may also exercise such other powers and perform such duties as are
   imposed upon him by ordinance, local or general law.
5. Performs functions of the ceremonial head of government and its embodiment of the city. He is frequently called upon to
   represent the city before other units of government and various regulatory and legislative bodies and civic groups.
6. Exercises powers of department head of the Executive Department. These divisions include Strategic Planning, Citizen
   Services, and Intergovernmental Affairs. The Mayor acts as department head for these divisions in all the usual senses
   to include appointing personnel, preparing and monitoring the budget and supervising division heads.
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           City of Buffalo
           Adopted Budget 2017-2018
           General Fund
                                                      2015-2016        2016-2017         2016-2017         2016-2017        2017-2018
                                                   Actual Amount         Adopted     Revised Budget      Year To Date         Adopted
                                                                          Budget                            5/31/2017          Budget


1501 EXECUTIVE DEPT GENERAL OFFICE TOTAL            859,147.86      1,054,540.00     1,054,927.50         790,835.00     1,071,916.00

  10301001 EXECUTIVE PS                               808,933.54      951,965.00         951,965.00        740,120.55      969,341.00
     411001 ANNUAL SALARY                              708,826.15       874,015.00        874,015.00        708,448.40       888,895.00

     412002 HOURLY SALARY                               94,186.41        71,000.00         71,000.00         26,672.15        71,000.00

     414001 LONGEVITY                                    4,750.00         5,000.00          5,000.00          5,000.00         6,450.00

     414007 PERFECT ATTENDANCE INCENTIVE                 1,170.98         1,950.00          1,950.00              0.00         1,996.00

     414028 VACATION BUYOUT                                  0.00             0.00              0.00              0.00         1,000.00


  10301004 EXECUTIVE TR                                 5,903.06         8,200.00         12,700.00          6,753.43         8,200.00
     458001 TRANSPORTATION                               1,234.06         2,100.00          6,600.00          5,142.53         2,100.00

     458002 MEALS & LODGING                               429.00          1,600.00          1,600.00          1,410.90         1,600.00

     458003 REGISTRATION & MEMBERSHIP FEES               4,240.00         4,500.00          4,500.00           200.00          4,500.00


  10301005 EXECUTIVE SP                                 3,429.19         2,950.00          2,950.00          2,367.23         2,850.00
     461001 OFFICE SUPPLIES                              3,429.19         2,550.00          2,550.00          2,367.23         2,550.00

     461005 PHOTO & DRAFTING SUPPLIES                        0.00          400.00            400.00               0.00          300.00


  10301006 EXECUTIVE SV                                40,882.07       91,425.00          87,312.50         41,593.79       91,525.00
     443301 MACHINERY & EQUIP REPAIRS                     195.00           225.00            325.00            275.00           325.00

     454000 ADVERTISING                                  1,408.00         6,000.00          6,287.50          2,860.50         6,000.00

     455000 PRINTING & BINDING                           3,989.40         4,200.00          4,200.00          4,196.00         4,200.00

     455100 INTERNAL PRINT SHOP                           929.48          1,000.00          1,000.00           963.79          1,000.00

     456000 OTHER SERVICES                              19,998.00       70,000.00          58,500.00         17,617.90        70,000.00

     456010 CEREMONIES & ENTERTAINMENT                  14,362.19        10,000.00         17,000.00         15,680.60        10,000.00
                            Case 1:18-cv-00719-CCR      Document 205-14     Filed 05/29/24     Page 5 of 45



05/31/2017 12:33    CITY OF BUFFALO                                                                                         p       1
rnosworthy          ADOPTED BUDGET REQUESTS                                                                                 Ibgdeptrq
   BUDGET PROJECTION 21718 CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
                   '                                                              PROJECTED                       PERCENT
 ORG    OBJECT PROJ ACCOUNT DESCRIPTION                       CURRENT
                                                            ADJ BUDGET              ACTUAL           ADOPTED       CHANGE

 10301001411001       MAYOR PS ANNUAL SALARY                  874,015.00                .00          888,895.00      1.70
         1000-03-1501-0000-1-00-0 -40-411001-
            MAYOR                                                   1.00         105,000.00          105,000.00
            DEPUTY MAYOR                                            2.00         116,525.00          233,050.00
            I122
            SPECIAL ASSIST. TO THE MAYOR I                          1.00          61,118.00           61,118.00
            I123
            EXECUTIVE ASSISTANT TO MAYOR                            1.00          76,663.00           76,663.00
            Il40
            SPEC ASST TO DEPUTY MAYOR III                           1.00          51,350.00           51,350.00
            I133
            SENIOR ADMINISTRATIVE ASSISTANT                         1.00          62,347.00           62,347.00
            A063 - STEP 5
            TELEPHONE OPERATOR                                      1.00          41,850.00           41,850.00
            A007 - STEP 5
            EXEC DIRECTOR BFLO ARTS COMM                            1.00          59,573.00           59,573.00
            I030
            CHIEF DIVERSITY OFFICER                                 1.00         105,988.00          105,988.00
            I064
            CONFIDENTIAL AIDE                                       1.00          53,453.00           53,453.00
            I162
            DIRECTOR OF GOVT RELATIONS & SPEC PROJ                  1.00          90,003.00           90,003.00
            I045
            Attrition                                               1.00          51,500.00          -51,500.00
                                  BUDGET CEILING:                                                    874,015.00
                                          TOTALS:             874,015.00                .00          888,895.00     1. 70
                                        ** END OF REPORT - Generated by nosworthy,raymour **
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                 EXECUTIVE DEPARTMENT


OFFICE OF STRATEGIC PLANNING                 FUNCTION                 1509
APPROPRIATIONS                                                $    1,412,101
FRINGES                                                       $      376,732
TOTAL APPROPRIATIONS                                          $    1,788,833
REVENUE                                                       $       80,000
NET                                                           $   (1,708,833)
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                     Case 1:18-cv-00719-CCR        Document 205-14        Filed 05/29/24   Page 8 of 45

                                             OFFICE OF STRATEGIC PLANNING
                                        Divisions of Planning, Zoning & Preservation

                                                             Goals

1. Facilitate quality development throughout the City through staffing the Planning board, Zoning Board of Appeals and
   Preservation Board.
2. Provide accurate information to the public and applicants about review procedures, zoning requirement and other issues.
3. Assist with adoption and implementation of the Green Code.

                                                             Activities

1. Staff to the Planning Board. Staff prepares agendas, sends public notifications, reviews submittal for completeness, facilities
   conversations with other departments regarding proposed developments, prepares SEQRA information and approvals and
   maintains files.
2. Staff to the Zoning board of Appeals, Staff prepares agendas, sends public notification, facilities conversations with other
   departments regarding proposed developments as needed, prepares approvals and maintains files.
3. Staff to the Preservation Board. Staff prepares agendas, sends public notifications, facilitates conservations with other
   departments regarding proposed developments as needed, prepares approvals and maintains files.
4. Manage the Buffalo Green Code project including coordinating with the consultant team, community stakeholders, and the
   general public, drafting and reviewing text, graphics, and map changes; arranging participating and recording imput from
   various stakeholder and community meetings. ,
5. Meet developers and others regarding potential projects to review and identify issues of concern prior to formal submittals.
6. Work with Department of Permits and Inspections services on upcoming and approved project to facilitate approvals
   throughout the city.
7. Participate in and support various planning initiatives related to land use, economic development, environmental resources,
   brownfields, community and neighborhood development, regional planning, commercial corridor development, planning for
   specific populations such as the aging, food policy, etc.
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                             OFFICE OF STRATEGIC PLANNING
                                      Planning Board
                                     Division #03-1509

                                     Work Program Statistics


                   CITY PLANNING BOARD                      Actual     Projection      Estimate
         OSP City Personnel Activities-Board Staff        2015-2016    2016-2017      2017-2018
Technical Staff Support                                          1.0            1.0          1.0
Board Meetings                                                   24             24           24
Public Hearings                                                  90            123           90
Minor Site Plans                                                   0              0          30
Site Plan Reviews                                                88             95          120
Rezoning                                                           2              2            0
Subdivisions                                                       1              3            2
Real Estate Referrals                                              2              2            4
Items Referred from Common Council                               75             60           75
Total Items before Board                                        174            199          167
Demolition Reviews                                                 1              2            1
SEQR Reviews                                                    100            123           90
Information Walk In                                             250            400          450
Inter Office Inquires                                            80            100          150
Phone Inquires                                                  600            750          750
Training Workshops                                                 2              2            2
Site Inspections                                                 20             20           30
Board Minutes Processed                                          24             24           24
                                                        Case 1:18-cv-00719-CCR                                            Document 205-14                                 Filed 05/29/24                         Page 10 of 45

                               City of Buffalo
                               Adopted Budget 2017-2018
                               General Fund
                                                                                                                              2015-2016                          2016-2017                          2016-2017                          2016-2017                          2017-2018
                                                                                                                         Actual Amount                              Adopted                  Revised Budget                        Year To Date                               Adopted
                                                                                                                                                                     Budget                                                             5/31/2017                              Budget


        1509 OFFICE OF STRATEGIC PLANNING TOTAL                                                                             693,000.83                     1,437,132.22                       1,446,652.67                          785,060.26                      1,412,100.89
- - - - - - - - - - - -   -........   - - - - - -   ............ - - - - - - ........ - - - - ........ -- - - - - - - .................. - . -- - - - - - - - - - ................ - . - - - - - - - ............ - - - - - .............. - - - - - .............. - - - - - - - ...... .
             10309001 STRATEGIC PLAN PS                                                                                       612,827.12                        798,847.22                         798,847.22                         671,326.61                         807,115.89
                   411001 ANNUAL SALARY                                                                                         596,150.53                        786,916.00                          786,916.00                        654,681.69                         788,214.00

                   413001 OVERTIME                                                                                                 5,098.60                                0,00                                0,00                         7,182.68                                0,00

                   414001 LONGEVITY                                                                                                7,811.10                          4,925.00                            4,925.00                           6,700.00                           7,425.00

                   414007 PERFECT ATTENDANCE INCENTIVE                                                                             2,292.39                          3,006.22                            3,006.22                                0.00                          7,476.89

                   414028 VACATION BUYOUT                                                                                               0,00                               0,00                               0,00                          1,124.24                                0,00

                   415001 AUTOMOBILE ALLOWANCE                                                                                     1,474.50                          4,000.00                            4,000.00                           1,638.00                           4,000.00


             10309004 STRATEGIC PLAN TR                                                                                             175.00                        50,200.00                          50,200.00                          50,000.00                          50,200.00
                   458003 REGISTRATION & MEMBERSHIP FEES                                                                             175,00                         50,200.00                          50,200.00                          50,000.00                          50,200.00


             10309005 STRATEGIC PLAN SP                                                                                          2,155.81                         20,585.00                            5,811.30                           5,344.11                           5,585.00
                   461001 OFFICE SUPPLIES                                                                                          1,532.86                             940.00                           1,240.00                           1,212.81                             940.00

                   461007 COMP & SOFTWARE (NON CAPITAL)                                                                                 0.00                        19,145.00                            4,071.30                          4,071.30                           4,145.00

                   467000 MISCELLANEOUS SUPPLIES                                                                                     622,95                             500.00                             500,00                              60.00                             500.00


             10309006 STRATEGIC PLAN SV                                                                                        77,842.90                        567,500.00                         591,794.15                           58,389.54                        549,200.00
                   443301 MACHINERY & EQUIP REPAIRS                                                                                1,500.00                           1,500.00                           1,500.00                           1,500.00                           1,500.00

                   446000 URBAN DEVELOPMENT SERVICES                                                                               9,986.40                                0.00                               0.00                               0,00                               0.00

                   454000 ADVERTISING                                                                                            19,009.65                          22,000.00                          25,626.20                          23,750.68                          22,700.00

                   455000 PRINTING & BINDING                                                                                       1,702.54                          3,000.00                            3,000.00                           1,017.70                                0,00

                   456000 OTHER SERVICES                                                                                         30,324.31                          30,000.00                          51,923.70                          31,368.00                        525,000.00

                   480000 OTHER SERVICES                                                                                         15,320.00                        511,000.00                         509,744.25                               753.16                                0.00
                                 Case 1:18-cv-00719-CCR     Document 205-14     Filed 05/29/24       Page 11 of 45



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rnosworthy             I
                       ADOPTED BUDGET REQUESTS                                                                                     Ibgdeptrq
    BUDGET PROJECTION 21718       CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
 ORG     OBJECT PROJ       ACCOUNT DESCRIPTION                      CURRENT           PROJECTED                          PERCENT
                                                                  ADJ BUDGET            ACTUAL             ADOPTED        CHANGE

 10309001411001       STRATEGIC PLAN PS ANNUAL SAL                 786,916.00                 .00           788,214.00       .16
         1000-03-1509-0000-l-00-0 -65-411001-
            EXECUTIVE DIRECTOR OSP (I062}                                1.00        119,646.00             119,646.00
            REAL ESTATE FINANCIAL ANALYST (Step 12)                      1.00         64,114.00              64,114.00
            A077
            STENOGRAPHER OSP (A004 Step 5)                               1.00         39,734.00              39,734.00
            SENIOR PLANNER OSP (A060 Step 5)                             1.00         59,858.00              59,858.00
            ECONOMIC DEVELOPMENT COORDINATOR OSP                         1.00         59,800.00              59,800.00
            (A071 Step 12)
            CONFIDENTIAL SEC.TO EXEC. DIRECTOR OSP                       1.00         49,063.00              49,063.00
            (I143 Step 5)
            DIRECTOR OF DEVELOPMENT OSP (I144)                           1.00         82,066.00              82,066.00
            SENIOR PLANNER OSP (A060) Step 5                             1.00         59,858.00              59,858.00
            SENIOR PLANNER OSP (A060 Step 12)                            1.00         53,336.00              53,336.00
            RESOURCE DEVELOPMENT TECHNICIAN OSP                          1.00               .00                    .00
            (A067 Step 1)
            DIRECTOR PLANNING OSP (I049)                                 1.00         84,527.00             84,527.00
            HUD PROGRAM ADMINISTRATOR OSP (A054                          1.00         54 / 281. 00          54,281.00
            Step 14)
            BROADWAY MARKET MANAGER OSP                                  1.00         64,505.00              64,505.00
            A115 - STEP 12
                                                                         1.00          2,574.00              -2,574.00
                                       BUDGET CEILING:                                                     786,916.00
                                               TOTALS:            786,916.00                  .00          788,214.00        .16
                                            ** END OF REPORT - Generated by nosworthy,raymour **
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                       EXECUTIVE DEPARTMENT


STRATEGIC PLANNING ZONING & LAND USE                  FUNCTION                1511
APPROPRIATIONS                                                        $       67,503
FRINGES                                                               $       29,871
TOTAL APPROPRIATIONS                                                  $       97,374
REVENUE                                                               $
NET                                                                   $      (97,374}
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                              OFFICE OF STRATEGIC PLANNING
                                     Preservation Board
                                      Division# 03-1511


                                     Work Program Statistics


           CITY PRESERVATION BOARD                         Actual       Projection      Estimate
       OSP City Personnel Activities-Board Staff          2015-2016     2016-2017      2017-2018
Technical Staff Support                                          1.0             1.0          1.0
Board Meetings                                                   23              23           23
Public Hearings                                                   10               8          12
Sub-Committee Meetings                                           29              33           20
Design Review Meeting                                           190             209          200
Landmark Site Reviewed & Designated                                4               6            4
Landmark Districts Reviewed & Designated                           0               4            2
Applicants for Certificates                                     160             170          200
Certificates of No Effect                                       160             170          125
Certificates of Appropriateness      '
                                                                180             183           75
Items Referred from Common Council                                 4               5            6
Total Items before Board                                        160             170          218
Demolition Reviews                                              147             157           20
Information Walk-Ins                 ;                          360             370          400
Inter Office Inquires                                            20              25           25
Phone Inquires                                                  300             325          400
Site Inspections                                                 26              27           25
Training Workshop                                                  0               1            1
Board Application Fees Processed                                188             200          200
Board Minutes Processed                                          23              23           23
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                               OFFICE OF STRATEGIC PLANNING
                                   Zoning Board of Appeals
                                      Division# 03-1511

                                     Work Program Statistics



            ZONING BOARD OF APPEAL                     Actual          Projection       Estimate
      OSP City Personnel Activities-Board Staff       2015-2016        2016-2017       2017-2018
Technical Staff Support                                         1.0             1.0            1.0
Board Meetings                                                   11              11             11
Public Hearings                                                217             209            225
Total Items before board                                       217             209            225
SEQR Review                                                    211             260            225
Zoning Verification Letters                                    594             250            275
Information Walk-Ins                                           142             200            215
Inter Office Inquires                                           21              25             26
Phone Inquiries                                                312             325            350
Site Inspections                                               217               10            20
Training Workshops                                                3               4              2
Board Minutes Processed                                          11              11             11
Broadway Market Invoices Processed                              75              85              90
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           City of Buffalo
           Adopted Budget 2017-2018
           General Fund
                                                      2015-2016     2016-2017         2016-2017         2016-2017     2017-2018
                                                   Actual Amount      Adopted     Revised Budget      Year To Date      Adopted
                                                                       Budget                            5/31/2017       Budget


1511 STRAT PLAN ZONING & LAND USE TOTAL               30,530.47     63,329.77         63,329.77        14,263.42      67,502.97

  10311001 ZONING & LAND USE PS                        25,160.80    58,479.77          58,479.77          9,415.46     61,952.97
     411001 ANNUAL SALARY                               24,110.80     56,576.00         56,576.00          9,415.46     60,003.00

     414001 LONGEVITY                                    1,050.00      1,050.00          1,050.00              0.00      1,050.00

     414007 PERFECT ATTENDANCE INCENTIVE                     0.00       853.77            853.77               0.00       899.97


  10311005 ZONING & LAND USE SP                          966.12          50.00             50.00             47.96         50.00
     461001 OFFICE SUPPLIES                                49.17         50.00             50.00             47.96          50.00

     467000 MISCELLANEOUS SUPPLIES                        916.95           0.00              0.00              0,00          0.00


  10311006 ZONING & LAND USE SV                         4,403.55     4,800.00           4,800.00          4,800.00      5,500.00
     454000 ADVERTISING                                  4,403.55      4,800.00          4,800.00          4,800.00      5,500.00
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                       CITY OF BUFFALO                                                                                           p       1
05/31/2017 12:33
rnosworthy             I
                       ADOPTED BUDGET REQUESTS                                                                                   Ibgdeptrq
    BUDGET PROJECTION 21718       CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
  ORG    OBJECT PROJ       ACCOUNT DESCRIPTION                      CURRENT            PROJECTED                       PERCENT
                                                                  ADJ BUDGET             ACTUAL           ADOPTED       CHANGE

 10311001411001       ZONING PS ANNUAL SAL                          56,576.00                .00           60,003.00      6.06
         1000-03-1511-0000-l-00-0 -40-411001-
            ADMINISTRATIVE SECRETARY                                     1.00          46,798.00           46,798.00
            A026 - STEP 4
            MEMBER OF ZONING BOARD APPEALS                               5.00           2,641.00           13,205.00
                                       BUDGET CEILING:                                                     56,576.00
                                               TOTALS:              56,576.00                .00           60,003.00      6.06

                                             ** END OF REPORT - Generated by nosworthy,raymour **
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                          EXECUTIVE DEPARTMENT


STRATEGIC PLANNING ENVIRONMENTAL AFFAIRS                        FUNCTION                1512

APPROPRIATIONS                                                                 $       63,507
FRINGES                                                                        $       30,966
TOTAL APPROPRIATIONS                                                           $       94,473
REVENUE                                                                        $
NET                                                                            $       (94,473)
         Case 1:18-cv-00719-CCR Document 205-14 Filed 05/29/24          Page 19 of 45
                              OFFICE OF STRATEGIC PLANNING
                                   Environmental Affairs
                                      Division# 03-1512


                                      Work Program Statistics


          DIVISION OF ENVIRONMENTAL AFFAIRS                 Actual       Projection      Estimate
         OSP City Personnel Activities-Board Staff         2015-2016     2016-2017      2017-2018
Technical Staff Support                                           1.0            1.0           1.0
EMC Board Meetings                                                  0              6            11
Environmental Affairs SEQR Reviews                                  0              5            10
Environmental Easement Records                                      0             10            15
Phase I & 11 ESA Reviews                                            0              3             6
DPW Site Coordination/Review                                        0             10            15
Site Reporting Coordination for City Sites to NYSDEC                0              3            7
SPEDES                                                                             2            6
Other City Agencies Site Coordination/Review                       0             10            15
Information Walk In                                                0               5           10
Inter Office Inquires                                              0             10            20
Phone Inquires                                                     0             15            30
Site Inspections                                                   0             10            20
Board Minutes Processed                 I                          0               6           11
                                                             Actual      Projection      Estimate
                OSP Support Activities                     2015-2016     2016-2017      2017-2018
Planning Board SEQR Reviews                                        0            123            90
ZBA SEQR Reviews                                                   0            260           225
BURA SEQR Reviews                                                  0             10            20
Real Estate SEQR Referrals                                         0              5            15
BMHA- HUD NEPA Coordination                                        0              2             6
                                       Case 1:18-cv-00719-CCR                             Document 205-14                      Filed 05/29/24                 Page 20 of 45


                       City of Buffalo
                       Adopted Budget 2017-2018
                       General Fund
                                                                                              2015-2016                  2016-2017                  2016-2017                  2016-2017                  2017-2018
                                                                                         Actual Amount                     Adopted            Revised Budget                Year To Date                     Adopted
                                                                                                                            Budget                                              5/31/2017                     Budget


                                                                                                                                                   59,656.00                  52,667.34                  63,507.25
           .......... ----........ - . ----.......... ----......... -----.... - ... -- . ---............ --- ---------................ - . -----............ -------........ -----.... --- . ----.............. -.... -
    1512 STRAT PLAN EVIRONMENTAL AFFAIR                            TOTAL                     11,986.41                  59,656.00
----------
          10312001 ENVIRON AFFAIRS PS                                                          11,986.41                  59,656.00                  59,656.00                  52,667.34                  63,507.25
               411001 ANNUAL SALARY                                                             11,986.41                  59,296.00                  59,296.00                  52,640.34                  62,309.00

               414007 PERFECT ATTENDANCE INCENTIVE                                                    0.00                       0.00                       0.00                       0.00                   1,198.25

               415001 AUTOMOBILE ALLOWANCE                                                            0.00                    360.00                     360.00                      27.00                        0.00
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05/31/2017 12:34       CITY OF BUFFALO                                                                                           p       1
rnosworthy             I
                       ADOPTED BUDGET REQUESTS                                                                                   Ibgdeptrq
    BUDGET PROJECTION 21718       CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
 ORG     OBJECT PROJ       ACCOUNT DESCRIPTION                      CURRENT            PROJECTED                       PERCENT
                                                                  ADJ BUDGET             ACTUAL           ADOPTED       CHANGE

10312001411001       ENV AFFAIRS PS ANNUAL SAL                      59,296.00                .00           62,309.00      5.08
        1000-03-1512-0000-1-00-0 -40-411001-
           Dir. of Environmental Affairs (A075                           1.00          62,309.00           62,309.00
           Step 12)
                                        BUDGET CEILING:                                                    59,296.00
                                                TOTALS:             59,296.00                .00           62,309.00      5.08
                                             ** END OF REPORT - Generated by nosworthy,raymour **
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                       EXECUTIVE DEPARTMENT


STRATEGIC PLANNING REAL ESTATE                   FUNCTION                 1514

APPROPRIATIONS                                                    $      762,790
FRINGES                                                           $      331,358
TOTAL APPROPRIATIONS                                              $    1,094,148
REVENUE                                                           $    8,592,339
NET                                                               $    7,498,191
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                                                     Office of Strategic Planning
                                                       Division of Real Estate
                                                      Real Estate Management
                                                               #03-1514

                                                                GOALS

1.    To increase sales and decrease the amount of City properties in inventory, through effective management and marketing.
2.    To increase productivity and revenues through better utilization of current staff and computer systems.
3.    To improve those services which will achieve the most cost-effective management and disposition of City-owned properties.


                                                    DESCRIPTION OF ACTIVITIES

1.    The overall activities of the Division are to manag~ the disposition and acquisition of City Real Property and properties acquired
      through tax foreclosure in accordance with state and local laws as described in Article 27, Section 27-1 through Article 27-14 of
      the City Charter.
2.    Advertise the particular assets of structures and vacant lots in order to promote sales.
3.    Maintain abandoned police stations, firehouses, libraries and public school buildings and tax foreclosed properties. This includes
      winterizing, making repairs where necessary and securing to prevent vandalism.
4.    Maintain the grounds of abandoned buildings and keep same free of debris, weeds, snow etc.
5.    Monitor private contractors' work on City owned properties, to insure services contracted for are completed in a satisfactory
      manner.
6.    Provide assistance to the tenants leasing City owned buildings by rendering minor plumbing, heating, carpentry and electrical
      repairs.
7.    Maintain data record system of property inventory (structures, vacant lots, demolitions) and client inquiries for acquisition of
      property.
8.    Publishing a catalog of properties to inform the public of the availability of properties for sale; post catalog on City web site.
9.    Revise property catalogs periodically.
10.   Review proposals of prospective purchasers' development plans and financial ability to complete and carry out purchase proposal.
11.   Conduct review of recent sales of all types of property sales throughout the City in order to establish market values for city
      property available for sale.
12.   Prepare and Maintain records, legal documents, and correspondence relative to the acquisition, sale, lease, maintenance, and
      repair of city-owned properties.
13.   Prepare all documents and perform the closings for the sale and transfer of city owned properties.
14.   Respond to public inquiries related to property acquisitions (walk ins, phone calls, internet inquiries).
15.   Respond to citizen complaints submitted through Citizen Services/ 311 call system.
16.   Provide staffing for Appraisal Review Board - set meetings, prepare agenda, compile minutes.
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                                         OFFICE OF STRATEGIC PLANNING
                                               Division of Real Estate
                                         Real Estate Management# 03-1514




                                                                                Actual         Projection       Estimate
                                                                              2015-2016        2016-2017       2017-2018

In-Rem Rentals - Number of Billings
                                                 :
                                                                                         0              60            180
In-Rem Rentals -Amount Billed                    i •                                    $0         $30,200        $90,600
Leases (Non-Public Property Rent) Number of Billings; includes Broadway                 864              903          621
Market
Leases (Non-Public Property Rent) Amount Billed; Not included are 60 $1          $733,400        $941,967        $620,910
leases and 84 no fee easements; includes Broadway Market
We also bill Buffalo Civic Auto Ramps-maintain the lease & insurance.                    12               12           12
Number of Billings
    (money is deposited in Board of Parking's Account)                         $2,735,004      $2,728,779      $2,728,779
Arena Ground Rental for HSBC Arena Number of Billings                                    4              4                4
Arena Ground Rental - Amount Billed                                              $500,000        $500,000        $500,000
Billboards (Rent Real Estate) Number of Billings                                         1              1                1
Billboards (Rent Real Estate) Amount Billed                                       $45,588         $45,588         $45,588
Property Sales - In Rem Sold Without Auction (Negotiated Private Sales)             11 for                           3 for
                                                                                              7 for $49,300
Improved Prop.                                                                    $76,800                        $132,000
Property Sales - In Rem Sold Without Auction (~egotiated Private Sales)             85 for          80 for          80 for
Vacant Lots                                                                      $471,570        $548,078       $280,000
Total Amount of Revenue Collected From Closed Sales                             $546,070         $597,378       $200,000
Open Files Being Reviewed (Active Files)                                              948             525             549
Dead Files (Client Unqualified or Property Withheld)                                  119             631             637
Total Files                                                                         1,067           1,156           1,186
In Rem Property Homesteads (Transferred for $1.00) Improved Closed                       5               5               0
In Rem Property Homesteads (Transferred for $1.00) Vacant Lots Closed                    33               50           75
Dead Files (Client Unqualified or Property Witheld)                                     29                32           45
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                                         OFFICE OF STRATEGIC PLANNING
                                               Division of Real Estate
                                         Real Estate Management# 03-1514

Capital Assets Sold Without Auction (Sale of Land, Bldg. & Equip.):
Number of improved properties closed                                                3 for             6 for          2 for
                                                                              $1,387,500       $2,109,000        $859,840
Number of vacant lots (including streets and paper streets) closed                      0             7 for          2 for
                                                                                               $1,335,400      $4,650,000
Total amount of revenue from sales closed                                      $1,387,500      $3,444,400      $5,509,840
Sale of BNRC properties closed by Real Estate Vacant Lots                     3 for $6,800    2 for $9,000             $0
Total amount of revenue collected from BNRC sales closed                            $6,800          $9,000             $0
Number of In-Rem Properties Rescinded                                                    2                2              0
Total Revenue Realized from Forfeit of Deposit (Purchaser Default) In                 $310          $1,050             $0
Rem Sales
Saleable Property Catalog -Number of Times Updated                                       10               4                 2
Inspections of City Owned Capital Assets:
To Ascertain General Property Condition                                                  91               87           75
By Prospective Purchaser (Appointments)                                                  94              120          145
Req. To Maintain, Repair, Board-up                                                      212              175          170
Routine Inspections                                                                     211              183          190
Inspections of City Owned In-Rem Property:                                                                              ;



To Ascertain General Property Condition                                                 150           220             300
Req. to Maintain, Repair, Board-up                                                      277           211             250
By Prospective Purchasers (Appointments)                                                146           200             220
Requests for Service (Vehicle Removal, Evictions, Client/Tenant Request)                 27            31              35

City/County Inspections Due to Violation Notices                                         23            36              40
Correspondence relative to Leases with Lessee                                           413           392             370
Correspondence relative to Leases with Interdepartmental Offices                        237           252             252
Correspondence relative to Leases with Common Council                                     5             4               5
Correspondence relative to In Rem Rentals with Tenants                                   15           143              91
Correspondence relative to In Rem Rental with lr;iterdepartmental Offices                 2             4               3




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                                         OFFICE OF STRATEGIC PLANNING
                                               Division of Real Estate
                                         Real Estate Management# 03-1514

 Correspondence relative to Disposition of In Rem Sales with Interested                    1227          1300      1325
 Parties
 Correspondence relative to Disposition of In Rem Sales with Common                         147              155    150
 Council
 Correspondence relative to Disposition of In Rem Sales with                               1155          1075      1100
 Interdepartmental Agencies
 Correspondence relative to Disposition of Homestead Property with                          116              160    229
 Interested Parties
 Correspondence relative to Disposition of Homestead Property with                           2                 3          4
 Interdepartmental Agencies
 Correspondence relative to Disposition of Capital Asset Sales with                           9               34     15
 Interested Parties
 Correspondence relative to Disposition of Capital Asset Sales with                           3               14          3
 Common Council
 Correspondence relative to disposition of Capital Asset Sales with                          6                30          9
                                                                                                                      :
 Interdepartmental Agencies
  Acquisition of In Rem Property- Number of lmp~oved Properties                             22                73   IR 51
. Acquisition of In Rem Property - Number of Vaca~t Lots                                    92                56   IR 51
  Total Number of In Rem Property Acquired                                                 114               129   IR 51
  Accounts Payable Services & Supplies                                                     105               113
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           City of Buffalo
           Adopted Budget 2017-2018
           General Fund
                                                       2015-2016     2016-2017          2016-2017        2016-2017      2017-2018
                                                   Actual Amount       Adopted     Revised Budget      Year To Date       Adopted
                                                                        Budget                            5/31/2017        Budget


1514 STRATEGIC PLAN DIV OF REAL EST TOTAL           575,773.58      606,324.76       607,060.86        492,968.06      762,789.89

  10314001 REAL ESTATE PS                            479,828.15      524,458.40        524,458.40       440,464.14      614,150.10
     411001 ANNUAL SALARY                              395,635.78     422,370.00        422,370.00        360,863.50     512,143.00

     412002 HOURLY SALARY                               40,620.85      52,520.00         52,520.00         39,287.28      52,520.00

     413001 OVERTIME                                    37,232.77      40,000.00         40,000.00         32,660.35      30,000.00

     414001 LONGEVITY                                    5,695.00       6,020.00          6,020.00          5,900.00       7,025.00

     414007 PERFECT ATTENDANCE INCENTIVE                  325.75        2,798.40          2,798.40              0,00       2,858.10

     414028 VACATION BUYOUT                                  0,00           0.00              0,00          1,303.01       5,224.00

     415001 AUTOMOBILE ALLOWANCE                            18.00         300.00            300.00              0.00       3,780.00
     415002 CLOTHING ALLOWANCE                            300,00         450,00             450,00           450,00         600,00


  10314004 REAL ESTATE TR                               3,502.00       3,900.00          3,900.00          1,382.00       3,350.00
     458003 REGISTRATION & MEMBERSHIP FEES               3,502.00       3,900.00          3,900.00          1,382.00       3,350.00


  10314005 REAL ESTATE SP                               7,786.57       5,810.00          7,546.10          7,156.91      18,275.00
     461001 OFFICE SUPPLIES                              2,577.29        850,00           1,548.10          1,309.67       1,200.00

     461105 JANITORIAL SUPPLIES                           156.04         370.00             370.00           351.95         420.00

     461201 CLOTHING & UNIFORMS                           398.22         595.00           1,033.00           987.53         650.00

     461202 TOOLS                                         878.81         945.00             945.00           910.80         955.00

     462600 GASOLINE AND LUBRICANTS                          0.00          50.00             50.00              0.00          50.00

     466000 BUILDING SUPPLIES                            3,776.21       3,000.00          3,600.00          3,596.96      15,000.00


  10314006 REAL ESTATE SV                             44,891.26       70,156.36        69,156.36         42,191.33     125,104.80
     432004 ENGINEER & TECHNICAL SERVICES               15,875.00      22,500.00         28,500.00        21,650.00       36,400.00

     434000 OTHER CONTRACTUAL SERVICES                   7,431.82      16,708.80         15,308.80          7,027.73      32,831.80

     443200 BUILDING AL TERATIONS & REPAIRS             15,539.00      19,532.76         18,932.76          8,375.58      39,500.00

     443301 MACHINERY & EQUIP REPAIRS                    1,733.07       1,000.00          3,500.00          3,372.77       5,000.00

     443303 VEHICLE DRIVETRAIN REPAIRS                     13.95        2,500.00              0.00              0.00       2,500.00

     454000 ADVERTISING                                  2,981.96       6,120.00            120.00              0.00       6,250.00

     455100 INTERNAL PRINT SHOP                           455.00         729.80             729.80           164.00         748.00

     456000 OTHER SERVICES                                861.46        1,065.00          2,065.00          1,601.25       1,875.00


  10314007 REAL ESTATE CO                             39,765.60        2,000.00          2,000.00         1,773.68        1,909.99
     474100 EQUIPMENT                                        0.00       2,000.00          2,000.00          1,773.68       1,909.99

     474200 VEHICLES                                   39,765.60            0.00              0.00             0.00            0.00
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                       CITY OF BUFFALO                                                                                                 p       1
05/31/2017 12:34
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                       ADOPTED BUDGET REQUESTS                                                                                         Ibgdeptrq
    BUDGET PROJECTION 21718       CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
 ORG     OBJECT PROJ       ACCOUNT DESCRIPTION                      CURRENT            PROJECTED                            PERCENT
                                                                  ADJ BUDGET             ACTUAL             ADOPTED          CHANGE

 10314001411001       REALEST PS ANNUAL SALARY                     422,370.00                  .00          512,143.00        21. 25
         1000-03-1514-0000-1-00-0 -65-411001-
            DIRECTOR OF REAL ESTATE 1019 CLASS 5920                      1.00          84,528.00             84,528.00
            STEP 5
            REAL ESTATE SPECIALIST A-73 CLASS STEP                       2.00          69,378.00            138,756.00
            5
           SENIOR ADMINISTRATIVE ASSISTANT A063                          1.00          62,347.00             62,347.00
           AT STEP 5 OF 5
           ACCOUNT CLERK TYPIST A005 ST STEP 7 OF                        1.00          40,745.00             40,745.00
            7
           LABORER II AT STEP 5 OF 5 B025 CLASS                          1.00          39,215.00             39,215.00
           9622
           LABORER I AT STEP 5 B024                                      1.00          36,132.00             36,132.00
           LABORER I AT STEP 2 B024                                      1.00          33,156.00             33,156.00
           EQUIPMENT OPERATOR AT STEP 1 B014                             1.00          39 I 661. 00          39 I 661. 00
           SENIOR ACCOUNT CLERK TYPIST                                   1.00          37,603.00             37,603.00
           A007 STEP 11
                                        BUDGET CEILING:                                                     422,370.00
                                                TOTALS:            422,370.00                  .00          512,143.00        21. 25

                                             ** END OF REPORT - Generated by nosworthy,raymour **
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                 EXECUTIVE DEPARTMENT


INTERGOVERNMENTAL RELATIONS                  FUNCTION                 1518

APPROPRIATIONS                                                $     610,728
FRINGES                                                       $     313,517
TOTAL APPROPRIATIONS                                          $     924,245
REVENUE                                                       $
NET                                                           $     (924,245)
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          City of Buffalo
          Adopted Budget 2017-2018
          General Fund
                                                    2015-2016      2016-2017         2016-2017         2016-2017      2017-2018
                                                 Actual Amount       Adopted     Revised Budget      Year To Date       Adopted
                                                                      Budget                            5/31/2017        Budget


1518 DIV OF INTERGOVT RELATIONS TOTAL             243,856.98      593,100.00       593,100.00        438,161.36      610,728.00

  10318001 INTERGOVT RELATIONS PS                  243,856.98      593,100.00        593,100.00       438,161.36      610,728.00
     411001 ANNUAL SALARY                            242,723.79     591,975.00        591,975.00        436,271.36     609,603.00

     414001 LONGEVITY                                   400.00        1,125.00          1,125.00          1,125.00       1,125.00

     414007 PERFECT ATTENDANCE INCENTIVE                733.19            0.00              0.00              0.00           0.00

     415001 AUTOMOBILE ALLOWANCE                           0.00           0.00              0.00           765.00            0.00
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                       ADOPTED BUDGET REQUESTS                                                                                    Ibgdeptrq
    BUDGET PROJECTION 21718       CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
 ORG     OBJECT PROJ       ACCOUNT DESCRIPTION                      CURRENT            PROJECTED                        PERCENT
                                                                  ADJ BUDGET             ACTUAL           ADOPTED        CHANGE

10318001411001       INTGVT REL PS ANNUAL SAL                      591,975.00                .00           609,603.00      2.98
        1000-03-1518-0000-l-00-0 -40-411001-
           DIRECTOR OF COMMUNICATIONS                                    1.00         105,988.00          105,988.00
           I064
           Communication & Community Relations                           1.00          93,923.00            93,923.00
           Coordinator
           I134
           Communication & Community Relations                           1.00          86,995.00            86,995.00
           Assistant Coordinator
           I146
           PRESS INFORMATION OFFICER                                     1.00          44,411.00           44,411.00
           Il54
           DIGITAL COMMUNICATIONS OFFICER                                1.00          60,826.00            60,826.00
           I156
           GRAPHIC ARTIST                                                1.00          71,400.00           71,400.00
           I159
           PRESS INFORMATION OFFICER II                                  1.00          69,597.00           69,597.00
           I118
           PHOTOGRAPHER                                                  1.00          33,232.00            33,232.00
           CITISTAT ANALYST                                              1.00          41,180.00            41,180.00
           DEPUTY DIRECTOR OF CABLE COMMUNICATIONS                       1.00          52,051.00            52,051.00
                                                                         1.00          50,000.00           -50,000.00
                                       BUDGET CEILING:                                                    591,975.00
                                               TOTALS:             591,975.00                .00          609,603.00       2.98
                                             ** END OF REPORT - Generated by nosworthy,raymour **
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                 EXECUTIVE DEPARTMENT


CITIZEN SERVICES                             FUNCTION                 1519
APPROPRIATIONS                                                $      784,978
FRINGES                                                       $      409,082
TOTAL APPROPRIATIONS                                          $    1,194,060
REVENUE                                                       $
NET                                                           $   (1,194,060)
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                                               MAYOR AND EXECUTIVE DEPARTMENT
                                                   Division of Citizen Services
                                                        Division# 03-1519

                                                                  Goals

The Division of Citizen Services was created within the Executive Department to establish and maintain a centralized computer based
system and procedures for receiving, processing and responding to inquiries, service requests, complaints and suggestions from citizens
in a timely, accurate and professional manner. The end result of this effort culminated with the creation and development of a centralized
response center for citizen complaints, requests for services, and referrals to appropriate departments, agencies and other service
providers. Since its inception, the Division has acquired several ancillary programs aimed at working with residents, block clubs and
community-based organizations to better service the community at large.

The Division of Citizen Services also houses Mayor Byron W. Brown's Quick Response Teams, comprised of the Buffalo Urban Renewal
Agency's Clean & Seal crew and the City of Buffalo Mayor's Impact Team; federal Department of Justice's Save Our Streets program;
the newly-formed Anti-Graffiti and Clean City Program; and the Office of Citizen Participation & Information.

                                                                Activities

1. Mayor's Call and Resolution Center - The 311 Call Center assists City agencies to provide efficient service delivery by allowing them
to focus on their core missions and manage workloads efficiently, while providing insight into the needs of residents and ensuring that
accurate and consistent services are delivered citywide to improve the quality of life for the citizens of Buffalo, New York.
2. Quick Response Teams (Clean and Seal Crew and Mayor's Impact Team) - Mayor Brown's Quick Response Teams are dispatched
as first responders to quality of life issues throughout the City of Buffalo.
3. Community Crime Prevention Initiative - Funded through Community Development Block Grant dollars, this program, working in
collaboration with the Buffalo Police Department, Buffalo Public Schools, the Department of Citizen Services, and other city staff and
officials, citizens, civic leaders, and business representatives, is a community-wide strategy for crime reduction and blight removal.
4. Save Our Streets Program - The Justice Department's Save Our Streets program investigates illegal drug activity and uses city statutes
and laws to evict tenants who commit illegal acts from rental homes and works with homeowners to process evictions due to illegal or
drug activity in residential properties.
5. Anti-Graffiti and Clean City Programs - The office acts as a liaison between the Division of Citizen Services; the Buffalo Police
Department; Department of Economic Development, Permits and Inspection Services; Department of Public Works, the community and
other organized groups, educating the public on graffiti prevention and removal as well as clean city beautification initiatives.
6. Office of Citizen Participation and Information - This office is charged with implementing and coordinating various initiatives, with the
underlying intent of engaging residents and empowering them with knowledge of where to access information, resources and municipal
services. Within this office, several programs such as the Mayor's Citizens' Participation Academy, and the Urban Fellows Program have
been executed.
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                                              Division of Citizen Services
                                                   Division# 03-1519

                                                Work Program Statistics
                                                                                         Actual     Projection    Estimate
                                                                                       2015-2016    2016-2017    2017-2018
Call and Resolution Center - All Calls                                                    189,634     193,427       197,296
Call and Resolution Center - Web Calls                                                     24,681      25,174        25,678
Call and Resolution Center - Requests for Services                                         73,612      75,084        76,586
Call and Resolution Center - Calls Requiring Information                                 116,168      118,343       120,710
Call and Resolution Center - Calls Closed                                                  73,466      73,583        75,015
Call and Resolution Center - % Rate Closed                                                     99          98            98
Call and Resolution Center - City Hall Information                                         97,870      99,827       101,823
Save Our Streets - # of Clean Sweeps                                                           31          30            31
Save Our Streets - Clean Sweeps - Tires Removed                                               861         317           320
Save Our Streets - Clean Sweeps - Illegal TV Connections Disconnected                           9            0            0
Save Our Streets - Clean Sweeps - Fire Prevention Smoke Detectors Given                        48         189           190
Save Our Streets - Clean Sweeps - Properties Baited for Rodents                             5,100       2,237         2,300
Save Our Streets - Clean Sweeps - Lots Mowed                                                  275         148           150
                                                                                               68          68            70
Save Our Streets - Clean Sweeps -Vacant Properties Boarded Up
                                                                                           2,510         643          650
Save Our Streets - Clean Sweeps - Debris Removals
                                                                                              n/a      111.15       115.00
Save Our Streets - Tons of Debris Removed
                                                                                                2           2            2
Save Our Streets - Landlord Training Sessions
                                                                                             158          160          160
Save Our Streets - Landlord Training Sessions Participants
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                                               Division of Citizen Services
                                                    Division# 03-1519



                                                                                           Actual   Projection       Estimate
                                                   '   ',
                                                                                          2015-2016 2016-2017       2017-2018
Quick Response Teams - Streets Cleaned                                                          120           128          130
Quick Response Teams - Bridges, Viaducts & Sidewalks Snow Cleared                               436           539          500
Quick Response Teams - Board Ups Properties                                                     302           205          200
Quick Response Teams - Cleaned Properties                                                     1,408         1,306        1,500
Quick Response Teams - Orders to Vacate                                                         302           202          205
Quick Response Teams - Vacant Buildings Cleaned                                               1,300         1,306        1,304
Quick Response Teams - Tons of Trash Removed                                                 873.03        936.08       998.01
Anti-Graffiti and Clean City ProQrams - Volunteers Recruited                                      0             0            0
Anti-Graffiti and Clean City Programs - Graffiti Sweeps                                          30            32           32
Anti-Graffiti and Clean City Programs - Community Service/Neighborhood Clean-ups                 30            32           32
Anti-Graffiti and Clean City Programs - Abatement and quick removal of graffiti               3,100         3,684        3,000
Office of Citizen Participation & Information - Citizen Participation Academy                     0            30           30
Participants
Office of Citizen Participation & Information - Livable Communities Grants Awardees              0             0            0
Office of Citizen Participation & Information - Block Clubs Engaged                             50            60           90
Office of Citizen Participation and Information- Mayor's Tour of Block Clubs                     0            20            6
Office of Citizen Participation and Information- Urban Fellows Program                          21            21           21
Community Crime Prevention Initiative- Summer Youth Participants                                40            71           40
Community Crime Prevention Initiative- Financial Literacy Trainings                              5             5            6
Community Crime Prevention Initiative - Financial Literacy Training Participants                43           125          125
Community Crime Prevention Initiative - Re-Entry Conference                                      0             1            1
Community Crime Prevention Initiative- Number of Re-Entry Conference Participants                0            50           75
Community Crime Prevention Initiative - Successful Re-Entry Candidates for                       5            25           40
Mentors hip
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                City of Buffalo
                Adopted Budget 2017-2018
                General Fund
                                                              2015-2016         2016-2017         2016-2017         2016-2017         2017-2018
                                                           Actual Amount          Adopted     Revised Budget      Year To Date         Adopted
                                                                                   Budget                            5/31/2017          Budget


    1519 DIVISION OF CITIZEN SERVICES TOTAL                  625,774.92       769,001.00        769,169.00        576,404.72        784,978.00
-------••""""••---··------ ----·······-------•"""""-•• --·--·---······------------· ---------------·---------·- ··----····· .. -----·-·------·
       10319001 CITIZEN SERVICES PS                           618,110.20       714,601.00         714,601.00       559,706.28        760,978.00
          411001 ANNUAL SALARY                                 605,102.25        699,601.00        699,601.00        548,429.68       747,003.00

          413001 OVERTIME                                            0.00           500.00             500.00          1,246.98           500.00

          414001 LONGEVITY                                       7,425.00          7,500.00          7,500.00          6,233.12         6,775.00

          414007 PERFECT ATTENDANCE INCENTIVE                     946.45           2,000.00          2,000.00              0.00         2,000.00

          415001 AUTOMOBILE ALLOWANCE                            4,636.50          5,000.00          5,000.00          3,796.50         4,700.00


       10319004 CITIZEN SERVICES TR                                 0.00           400.00            400.00               0.00             0.00
          458002 MEALS & LODGING                                     0.00           400.00             400.00              0.00             0.00


       10319005 CITIZEN SERVICES SP                             5,514.54         2,000.00           2,168.00          1,689.02         3,000.00
          461001 OFFICE SUPPLIES                                     0.00              0.00              0.00              0.00         2,000.00

          467000 MISCELLANEOUS SUPPLIES                          5,514.54          2,000.00          2,168.00          1,689.02         1,000.00


       10319006 CITIZEN SERVICES SV                             2,150.18        52,000.00          52,000.00         15,009.42        21,000.00
          455100 INTERNAL PRINT SHOP                             1,000.00          2,000.00          2,000.00           161.75          1,000.00

          456000 OTHER SERVICES                                  1,028.03         50,000.00         14,847.67         14,847.67        20,000.00

          480000 OTHER SERVICES                                   122.15               0.00              0.00              0.00             0.00

          490000 FREEZE FUNDS                                        0.00              0.00         35,152.33              0.00             0.00
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                       ADOPTED BUDGET REQUESTS                                                                                        Ibgdeptrq
    BUDGET PROJECTION 21718       CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
 ORG     OBJECT PROJ       ACCOUNT DESCRIPTION                      CURRENT            PROJECTED                            PERCENT
                                                                  ADJ BUDGET             ACTUAL             ADOPTED          CHANGE

 10319001411001       CITIZEN SERV PS ANNUAL SAL                   699,601.00                  .00           747,003.00        6.78
         1000-03-1519-0000-l-00-0 -40-411001-
            Director of Citizen Services/Chief                           1.00          95,717.00              95,717.00
            Service Officer
            I069
            Anti-Graffiti & Clean City Programs                          1.00          63,006.00              63,006.00
            Coordinator
            1137
            Complaint Clerk Step 5 (A002)                                5.00          38,888.00             194,440.00
            Complaint Clerk SPANISH SPEAKING                             1.00          37,130.00              37,130.00
            A002 - Step 14
            Associate Account Clerk Typist                               1.00          46,789.00              46,789.00
            A022 - Step 5
            311 Call Center Manager                                      1.00          82,502.00              82,502.00
            1140
            Knowledge Based Coordinator                                  1.00          52 I 051. 00          52 / 051. 00
            Confidential Secretary/Clerk (I149)                          1.00          46,818.00             46,818.00
            Telephone Operator Step 5 (A007)                             2.00          41,850.00             83,700.00
            Telephone Operator Step 17 (A007)                            1.00          41,850.00             41,850.00
            Assistant for External Affairs -Citizen                      1.00          43,000.00             43,000.00
            Services
                                                                         1.00          40,000.00             -40,000.00
                                       BUDGET CEILING:                                                       699,601.00
                                               TOTALS:             699,601.00                  .00           747,003.00        6.78
                                             ** END OF REPORT - Generated by nosworthy,raymour **
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                 EXECUTIVE DEPARTMENT


TRAFFIC VIOLATIONS                           FUNCTION                 1033
APPROPRIATIONS                                                $     547,337
FRINGES                                                       $     241,333
TOTAL APPROPRIATIONS                                          $     788,670
REVENUE                                                       $
NET                                                           $     (788,670)
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                                                TRAFFIC VIOLATIONS AGENCY
                                                      Division# 03-1033

                                                               Goals

1. To assist the Buffalo City Court in the disposition of violations of the New York State Vehicle & Traffic Law that occur in the City
   of Buffalo.
2. To administer punitive punishment that is reasonable, but not more than necessary, to:
       a. Generate revenue; and,
       b. Achieve rehabilitation of offender-motorists:

                                                             Activities

•   Receive, review, and research, uniform traffic tickets issued in violation of the Vehicle & Traffic Law within the City of Buffalo.
•   Maintain a status quo of prosecutorial actions that effectively and equitably set fines and penalties in compliance with the New
    York State Vehicle & Traffic Law, New York State Criminal Procedure Law, and regulations of the New York State Department of
    Motor Vehicles.
•   Regular prosecutorial review, research, and monitor of relevant case law and legislation.
•   Prosecutorial review of cases, offer, and acceptance of plea bargain to resolve matters in lieu of court.
•   Process guilty, not-guilty, and no-response pleas entered.
•   Transfer appropriate cases to Buffalo City Court upon request and/or pursuant to legislation.
•   Maintain methods for public contact during regular office hours for inquiry by person, telephone, or mail.
•   Schedule, notify, and arrange defendants and law enforcement officers for appearance at court hearings.
•   Maintain complete and accurate records relating to all charges, dispositions and associated activities.
•   Monitor cases that have failed to respond and/or failed to pay and take appropriate action.
•   Reconcile receivables by tracking payment amounts, forms of payment, dishonored payments, and outstanding receivables.
•   Prepare payments received by mail for treasury deposit.
•   Monitor and respond to the Mayor's complaint line.
•   Transmit daily disposition reports to the Department of Motor Vehicles.
•   File monthly Justice Court Fund audit reports to the New York State Comptroller's Office.
•   Perform daily download of electronic uniform traffic tickets from the Department of Motor Vehicles.
•   Communicate with other city departments to enhance cross-procedures and resolve common matters.
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                                              TRAFFIC VIOLATIONS AGENCY
                                                    Division# 03-1033
                                              WORK PROGRAM STATISTICS

                                                                         Actual                Projection          Estimate
                                                                        2015-2016              2016-2017          2011..:2018
 Total Uniform Traffic Tickets                                                  37,788                 27,545              32,000
 Total Cases                                                                    23,060                 16,259              19,500
 Transferred to Buffalo City Court                                                  n/r                   144                 120
 License Suspensions:
 Released Suspensions                                                              937                    9,905           10,000
 Public Contact:
 In Person (approx.)                                                            30,000                35,568             35,000
 By Telephone (approx.)                                                             n/r               19,760             20,000
 By Mail (approx.)                                                              15,500                24,700             25,000
 Number of Mayor's 311 matters                                                     172                    40               < 30
 Default Judgments:
 Rendered in Court                                                                  n/r                     36               500
 Converted From Fines Owed                                                          n/r                    924             < 200
 FINANCIAL STATISTICS                                                    Actual               Projection           Estimate
                                                                        2015-2016             2016-2017           2017-2018
 Total Dollars Collected:                                                  $1,822,819            $3,144,324          $4,200,000
 Cash                                                                        $904,055            $1,794,903          $2,350,000
 Check/Money Order                                                           $483,662              $658,310            $850,000
 Checks Returned                                                              ($1,570)              ($1,975)            ($2,000)
 Credit Card (POS)                                                           $260,021              $353,093            $500,000
 Electronic Payment                                                          $175,082              $338,017            $500,000
 Total Dollars Outstanding (unpaid cases)                                           n/r            $173,457            $130,000 .
 Total Manpower Dollars Spent:
 Regular                                                                      $228,381              $285,945           $436,700
 Overtime                                                                      $58,523               $64,566            $87,000




n/r = Not Reportable for the Period
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           City of Buffalo
           Adopted Budget 2017-2018
           General Fund
                                                      2015-2016       2016-2017         2016-2017         2016-2017      2017-2018
                                                   Actual Amount        Adopted     Revised Budget      Year To Date       Adopted
                                                                         Budget                            5/31/2017        Budget


1033 TRAFFIC VIOLATIONS AGENCY TOTAL                300,311.54       535,321.00       536,425.50        426,530.85      547,337.00

  10333001 TRAFFIC VOILATIONS AGENCY                  294,958.48      510,971.00        510,971.00       411,583.94      533,797.00
     411001 ANNUAL SALARY                              228,381 ,05     420,246.00        420,246.00        327,981.65     444,422.00

     412002 HOURLY SALARY                                  600.00        9,900.00          9,900.00          1,650.00       8,400.00

     413001 OVERTIME                                    58,523.11       72,000.00         72,000.00         76,177.20      70,000.00

     413002 HOLIDAY                                        248.73            0.00              0.00              0.00        500.00

     413003ACTING TIME                                     222.97            0.00              0.00           155.35         300,00

     414001 LONGEVITY                                    5,807.56        5,825.00          5,825.00          5,175.00       5,175.00

     414007 PERFECT ATTENDANCE INCENTIVE                 1,175.06        3,000.00          3,000.00           444.74        3,000.00

     414028 VACATION BUYOUT                                  0,00            0,00              0,00              0,00       2,000.00


  10333004 TRAFFIC VIOLATIONS AGENCY                         0.00           0.00           400.00            300.00          500.00
     458003 REGISTRATION & MEMBERSHIP FEES                   0.00            0.00           400.00            300.00         500.00


  10333005 TRAFFIC VIOLATIONS AGENCY                    4,978.06       12,550.00         14,654.50          9,011.49       6,450.00
     461001 OFFICE SUPPLIES                              4,588.06        2,000.00          4,104.50          4,099.15       2,200.00

     461006 FURNITURE &EQUIP (NON CAPITAL)                 390.00       10,000.00          4,803.06          4,803.06       4,000.00

     464000 PERIODICALS                                      0.00         550.00            550.00            109.28         250.00

     490000 FREEZE FUNDS                                     0.00            0.00          5,196.94              0.00           0.00


  10333006 TRAFFIC VIOLATIONS AGENCY                      375.00       11,800.00         10,400.00          5,635.42       6,590.00
     432004 ENGINEER & TECHNICAL SERVICES                    0.00            0,00          4,840.00          4,840.00       4,840.00

     443400 EQUIP MAINTENANCE CONTRACTS                      0,00        3,500.00           500.00               0.00        250,00

     455000 PRINTING & BINDING                               0.00        4,500.00          1,660.00            22,00         250.00

     455100 INTERNAL PRINT SHOP                            375.00        1,800.00          1,800.00           773.42         750.00

     456000 OTHER SERVICES                                   0.00        2,000.00          1,600.00              0.00        500.00
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                       ADOPTED BUDGET REQUESTS                                                                                     Ibgdeptrq
    BUDGET PROJECTION 21718       CITY OF BUFFALO 2017-2018 BUDGET PROJECTION
 ORG     OBJECT PROJ       ACCOUNT DESCRIPTION                      CURRENT           PROJECTED                          PERCENT
                                                                  ADJ BUDGET            ACTUAL           ADOPTED          CHANGE

10333001411001        TVA ANNUAL SALARY                           420,246.00                .00           444,422.00        5.75
        1000-03-1033-1000-l-00-0 -45-411001-
           Traffic Agency Clerk Job Class 0019,                          3.00         38,145.00           114,435.00
           Grade A-113, Step 13
           Traffic Agency Clerk, Job Class 0019                          1.00         41,055.00            41,055.00
           Grade A-113, Step 17
           Traffic Agency Clerk                                         2.00          36,690.00            73,380.00
           A113 Step 11
           Traffic Agency Rep Job Class 0018,                            2.00         47,359.00            94,718.00
           Grade A-112, Step 17
           Administrator Traffic Violations Agency,                     1.00          59,634.00            59,634.00
            Job Class 1383
           Grade A-066, Step 13
           Executive Director                                           1.00                .00                    .oo
           Traffic Prosecutor (Part Time), Job                          2.00          30,600.00            61,200.00
           Class 2691
           Grade I-160, Step 5
                                       BUDGET CEILING:                                                    420,246.00
                                               TOTALS:            420,246.00                .00           444,422.00        5.75

                                            ** END OF REPORT - Generated by nosworthy,raymour **
